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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                  No. 4:14CR00010-09 JLH

IVORY LAMONT JOHNSON                                                              DEFENDANT

                                             ORDER

       Without objection, Ivory Lamont Johnson’s motion for temporary release to attend the

funeral of his grandmother is GRANTED. Document #411. Johnson will be released to the custody

of his mother, Barbara Johnson, from April 17, 2015, at 8:00 a.m., through April 20, 2015, at 6:00

p.m., so that he may attend the funeral services.

       IT IS SO ORDERED this 16th day of April, 2015.




                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
